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October 16, 2023

VIA ECF

Honorable Leda Dunn Wettre, U.S.M,J.
United States District Court

Martin Luther King Bldg & U.S. Courthouse
50 Walnut Street

Newark, NJ 07101

RE: Deborah Gross-Quatrone v. Bonnie Mizdol, et al.
Docket No. 2:17-cv-13111-SDW-LDW

Dear Judge Wettre:

I apologize for not getting this letter to you earlier, but my entire office has been
preparing for various trials this month and I wanted to respond to Ms. Dohn’s letter to you
of October 5, as plaintiff also wishes to file a motion for summary judgment as to liability.
We will be available to discuss further at the scheduled conference.

Thank you for your attention.

Respectfully yours,
FERRARA LAW GROUP, P.C.
/S/ Ralph P. Ferrara

RALPH P. FERRARA

RPF/sjg
cc: Kathleen Dohn, Esquire

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